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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                              NEWPORT NEWS DIVISION


UNITED STATES OF AMERICA

                v.                                         CRIMINAL CASE NO. 4:24cr17-11

TERRANCE JERNIGAN,

        Defendant.


               ORDER ADOPTING REPORT AND RECOMMENDATIONS

        This matter is before the Court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge’s acceptance of the Defendant’s plea of guilty to the

specified charge in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding conducted by the

Magistrate Judge with the consent of the Defendant and counsel. It appearing that the Magistrate

Judge made full inquiry and findings pursuant to Rule 11; that the Defendant was given notice of the

right to file specific objections to the report and recommendation that has been submitted as a result of

the proceeding; and it further appearing that no objection has been asserted within the prescribed time

period, it is hereby

        ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED and the

Defendant is found guilty of Count ONE (1) of the Superseding Indictment.

                                                                 /s/
                                                Roderick C. Young
                                                United States District Judge

Date: February 20, 2025
Richmond, Virginia
